                   Case 5:25-cv-00350-SPG-E             Document 19-3   Filed 03/11/25    Page 1 of 2 Page ID
                                                                #:115



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                     8                                 UNITED STATES DISTRICT COURT
                     9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                   11 DAVID PHILLIP VALLEJOS,                               Case No. 5:25-CV-00350-SPG-E
                                                                            [Hon. Sherilyn Peace Garnett, Dist.
                   12                     Plaintiff,                        Judge; Hon. Charles F. Eick, M. Judge]
                   13             vs.
                                                                            [PROPOSED] ORDER GRANTING
                   14 ROB BONTA, in his Official Capacity                   DEFENDANT SHERIFF CHAD
                      as the Attorney General of the State of               BIANCO’S EX PARTE
                   15 California, and CHAD BIANCO, in his                   APPLICATION TO CONTINUE
                      Official Capacity as the Riverside                    HEARING ON PLAINTIFF’S
                   16 County Sheriff,                                       MOTION FOR PRELIMINARY
                                                                            INJUNCTION FROM APRIL 2, 2025
                   17                     Defendants.                       TO APRIL 30, 2025 AND RELATED
                                                                            DEADLINES DUE TO LACK OF
                   18                                                       NOTICE
                   19
                                                                            Filed Concurrently with Ex Parte
                   20                                                       Application; Declaration of Abigail J.R.
                                                                            McLaughlin
                   21
                                                                            Action Filed: February 7, 2025
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                                  This Court has reviewed the March 11, 2025 ex parte application of Defendant
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                         CHAD BIANCO, in his Official Capacity as the Riverside County Sheriff for a
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                         continuance of the hearing on Plaintiff’s Motion for Preliminary Injunction and
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                         related deadlines in this matter by a period of four (4) weeks, as well as Plaintiffs’
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                         Opposition thereto.
LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                         154101028.1                                    1
ATTORNEYS AT LAW              [PROPOSED] ORDER RE: DEFT. BIANCO’S EX PARTE APP. TO CONT. HRG. ON PLTF.’S P.I. MTN.
                   Case 5:25-cv-00350-SPG-E         Document 19-3      Filed 03/11/25    Page 2 of 2 Page ID
                                                            #:116



                     1            Pursuant to the Court’s inherent and statutory authority, including, but not
                     2 limited to, the Court’s authority under all applicable statues and rules, after due
                     3 consideration of all of the relevant pleadings, papers, and records in this action; and
                     4 upon such other evidence or argument as was presented to the Court; good cause
                     5 appearing therefore, and in furtherance of the interests of justice, it is hereby
                     6 ORDERED as follows:
                     7            1.    The hearing on Plaintiff’s Motion for Preliminary Injunction is continued
                     8 from April 2, 2025 to April 30, 2025;
                     9            2.    The deadline for defendants’ opposition to Plaintiff’s Motion for
                   10 Preliminary Injunction is continued to April 9, 2025; and
                   11              3.   The deadline for Plaintiff’s reply, if any, in support of Plaintiff’s Motion
                   12 for Preliminary Injunction is continued to April 16, 2025.
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                   14             IT IS SO ORDERED.
                   15
                   16 DATED: March __, 2025
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                   18                                                 Hon. Sherilyn Peace Garnett
                                                                    UNITED STATES DISTRICT JUDGE
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LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                         154101028.1                                   2
ATTORNEYS AT LAW              [PROPOSED] ORDER RE: DEFT. BIANCO’S EX PARTE APP. TO CONT. HRG. ON PLTF.’S P.I. MTN.
